     Case 2:12-cv-01924-SM-DPC Document 650 Filed 09/30/22 Page 1 of 1



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA,                                    CIVIL ACTION
     Plaintiff

 VERSUS                                                       NO. 12-1924

 CITY OF NEW ORLEANS,                                         SECTION “E”
      Defendant


                                     ORDER

      IT IS ORDERED that public hearings on the status of the Consent Decree shall

be held on:

                  October 19, 2022 at 10:00 a.m.

                  November 9, 2022 at 3:00 p.m.

                  December 14, 2022 at 3:00 p.m.


      The hearings will be held in Judge Morgan’s Courtroom, Third Floor, Room C-316,

United States Courthouse, 500 Poydras Street, New Orleans, Louisiana. The public is

invited to attend. In addition, the public may submit questions and comments to the

Consent Decree Monitoring Team anytime at aburns@consentdecreemonitor.com.


      New Orleans, Louisiana, this 30th day of September, 2022.


                   ________________________________
                            SUSIE MORGAN
                     UNITED STATES DISTRICT JUDGE
